              Case 1:18-mj-03694-JG Document 3 Entered on FLSD Docket 11/27/2018 Page 1 of 1

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                                       M agistrate ludge J#eèa'il'af-/ oodm an
                              KingBuildingCourtroom 11-3                                        Date:11/26/2013 Time:1:30p.m.
     Defendant:JUAN A.HERNANDEZ ALVARADO J#:17838-104                  Case #: 18-3694-M J-GOODM AN                        *           .
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     AusA:              05m h Schttsf-zc                         Attorney: naef                            ttre                        e.
     viojation:S/D/NY/SUPE .INDICT/WARR/CONSP/IMPORTCOCAINE Surr/Arrestpate:11/23/20'18                                              YOB:1978
                  INTO THE U.S.                                                '

     Proceeding: InitialAppearance                                .         CJA Appt:
     Bond/PTD Held:C'Yes C'No                    Recom mended Bond:
     Bond Setat:                                                            Co-signed by:
         C' surrenderand/ordo notobtainpassports/traveldocs                        Language:

         r.
          r Reportto PTsas directed/or       x'saweek/monthby                      Disposition'                                             ,   .
                                                                                                                                                      '


            phone:       x'saweek/monthinperson
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         17 Refrainfrom excessiveuse ofalcohol                                     ..



         17 Participate in mentalhealth asqpqsm ent& treatment
         r' Maintainorseekfull-timeemployment/education                            :
                                                                                                        /                  'z
                                                                                                                                           :>ca/z-
         17 Nocontactwithvictims/witnesses,exceptthroughcounsel                    :'  .              ).
                                                                                                                                ..
         17 No firearms                                                                    .
     '
         r' Notto encum berpropedy                                                                                     .


         17 M ay notvisittransportation establishm ents                                                        -
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              Homeconfinement/ElectronicMonitoringand/or                           -
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              curfew'
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                    nces:M edicalneeds,courtappearances,attorney visi
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     NEXT COURT APPEARANCE        Date:            Timer           Judge:                                              Place:
     ReportRECounsel'
                    .
     PTB/BondHearing:
     Prelim/ArraignorRemoval:
     statusconferencrRE:
     D.A.R. lt/.
               f//.Y                                                    Timeincourt: f.
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                                              s/lonathanGoodman                                                M agistrateJudge
